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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                       Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

       v.

A.W. Companies, Inc., et al.,

              Defendants.


            PLAINTIFF’S INTERROGATORIES TO MILAN BATINICH (SET ONE)
______________________________________________________________________________

TO:    Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
       Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
       and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
       Minnesota 55305.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Milan Batinich fully answer each of the following

interrogatories (the “Interrogatories”) in writing, separately and under oath, and serve

a copy of the executed answers upon the office of counsel for the Plaintiff, V. John Ella,

Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue

South, Minneapolis, MN 55415, within thirty (30) days after service of these requests.

                                       DEFINITIONS

       For the purposes of these Interrogatories, unless otherwise clearly indicated, the
following definitions shall apply:



                                             1
      CASE 0:17-cv-05009-JRT-DTS        Doc. 299-1     Filed 09/12/19    Page 2 of 34




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                       Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

       v.

A.W. Companies, Inc., et al.,

              Defendants.


            PLAINTIFF’S INTERROGATORIES TO WENDY BROWN (SET TWO)
______________________________________________________________________________

TO:    Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
       Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
       and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
       Minnesota 55305.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Wendy Brown fully answer each of the following

interrogatories (the “Interrogatories”) in writing, separately and under oath, and serve

a copy of the executed answers upon the office of counsel for the Plaintiff, V. John Ella,

Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue

South, Minneapolis, MN 55415, within thirty (30) days after service of these requests.

                                       DEFINITIONS

       For the purposes of these Interrogatories, unless otherwise clearly indicated, the
following definitions shall apply:



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      CASE 0:17-cv-05009-JRT-DTS        Doc. 299-1     Filed 09/12/19    Page 3 of 34




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                       Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

       v.

A.W. Companies, Inc., et al.,

              Defendants.


            PLAINTIFF’S INTERROGATORIES TO ALLAN K. BROWN (SET TWO)
______________________________________________________________________________

TO:    Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
       Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
       and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
       Minnesota 55305.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Allan K. Brown fully answer each of the following

interrogatories (the “Interrogatories”) in writing, separately and under oath, and serve

a copy of the executed answers upon the office of counsel for the Plaintiff, V. John Ella,

Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue

South, Minneapolis, MN 55415, within thirty (30) days after service of these requests.

                                       DEFINITIONS

       For the purposes of these Interrogatories, unless otherwise clearly indicated, the
following definitions shall apply:



                                             1
      CASE 0:17-cv-05009-JRT-DTS        Doc. 299-1    Filed 09/12/19    Page 4 of 34




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Management Registry, Inc.,                      Court File No. 0:17-CV-05009 (JRT/KMM)

                Plaintiff,

       v.

A.W. Companies, Inc., et al.,

                Defendants.


            PLAINTIFF’S INTERROGATORIES TO A.W. COMPANIES, INC. (SET TWO)
______________________________________________________________________________

TO:    Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
       Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
       and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
       Minnesota 55305.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant A.W. Companies, Inc. fully answer each of the

following interrogatories (the “Interrogatories”) in writing, separately and under oath,

and serve a copy of the executed answers upon the office of counsel for the Plaintiff, V.

John Ella, Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310

Fourth Avenue South, Minneapolis, MN 55415, within thirty (30) days after service of

these requests.

                                      DEFINITIONS

       For the purposes of these Interrogatories, unless otherwise clearly indicated, the

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following definitions shall apply:

       1.  “Acquired Business” or “Acquired Businesses” as used herein means the
combined companies acquired by MRI on or about September 7-8, 2017, as identified in
the Amended Complaint (DE #59), as well as Defendants’ Answer and Counterclaim (DE
# 72).

       2.     “All-Calls” means the All-Calls subsidiary of AllStaff Recruiting Inc.,
including any subsidiary, agent, representative, or affiliate thereof.

        3.      “AllStaff Recruiting, Inc.” means AllStaff Recruiting, Inc., including any
subsidiary, agent, representative, or affiliate thereof, including, but not limited to, All-
Calls, ARI, AllStaff Recruiting, Jeane Thorne, and all non-industrial Minnesota operations
of the Acquired Businesses, and as identified by Defendants in the Answer and
Counterclaim filed herein (DE # 72).

       4.      “And” means both “and” and “or”.

       5.     “A.W. Companies” means Defendant A.W. Companies, Inc.

       6.     “Communication” means oral and written communications including
without limitation, face-to-face communications, telephone conversations, text
messages, electronic communications, electronic mail (“e-mail”) communications,
instant messages, computer on-line contact, facsimile, hand delivery, courier, letter,
memorandum or note, and any other form of correspondence or communication
between two or more persons or entities.

       7.    “Date” means the exact day, month, and year, but if unascertainable, the
best approximation including relationship to other events.

        8.       “Defendant” means Wendy Brown, Allan Brown, and Defendant A.W.
Companies, Inc. and its divisions, departments, business units, parent, subsidiaries,
affiliates, related companies, joint ventures, and their present and former directors,
governors, officers, managers, shareholders, members, partners, owners, and
employees, and any person acting on their behalf, including but not limited to, their
attorneys, investigators, representatives, or agents.

       9.     “Describe” or “describe in detail”, when used in reference to a factual
situation or an allegation, means to state with particularity all facts known to you
relating in any way to the matter of the request.

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       10.    “Document” or “documents” means all materials within the scope of Rule
34(a)(1)(A) of the Federal Rules of Civil Procedure, including without limitation, the
following:

                    (a)    The original and all non-identical copies of all documents,
recordings, graphic material, or compilation of information or data, however
maintained, including:

                           (i)     writings, documents, records, correspondence,
                           memoranda, notes, diaries, calendars, journals, logs, letters,
                           office communications, telefax, minutes, resolutions,
                           corporate records, agreements, contracts, reports, checks,
                           statements, receipts, summaries, abstracts, pamphlets,
                           books, booklets, handbooks, policies, procedures, manuals,
                           personnel files, time records, pay stubs, payroll records,
                           compensation data, and notations of any sort of
                           conversations, telephone calls, meetings or other
                           communications, and all other recorded information of any
                           kind;

                           (ii)   graphic or oral recordings or representations of any
                           kind including, but not limited to, sound recordings, audio
                           tapes, films, motion pictures, photographs, charts, graphs,
                           microfiche, microfilm, CDs, DVDs, or other recordings; and

                           (iii) records kept by magnetic, mechanical, or electronic
                           means, including electronic mail (“e-mail”) messages, instant
                           messages, and any electronic, mechanical, electric, or
                           computerized records or representations of any kind and
                           compilations stored on all computerized systems (including
                           tapes, cassettes, discs, recordings, computer memories, hard
                           drives, back-up systems, storage drives, archived tapes,
                           taped backup devices, zip drives, computer disks, floppy
                           disks, servers, and/or storage devices of any kind).

             (b)    All non-identical copies or versions of such documents including
                    drafts, copies, or alternate versions upon which appear any
                    initialing or notations, modified text, additions, deletions,



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                     redaction, facsimile headers, or handwriting of any kind not
                     appearing on the original.

       11.    “Identify” when used in reference to a natural person means to describe:
(a) the person’s full name and any other names or nicknames the individual is known by;
(b) the person’s last known residential address, telephone number, and personal e-mail
address(es); (c) the person’s last known business address, telephone number, facsimile
number, and work-related or business e-mail address(es); (d) the person’s present
employer or business affiliation and job title; and (e) the person’s personal, family,
business, or other relationship to you.

       12.    “Identify” when used in reference to an organization or entity other than
a natural person means to describe: (a) the full name of the entity; (b) all assumed
names used by the entity; (c) the type of entity (e.g., corporation, non-profit
corporation, limited liability company); (d) the date and state of organization or
incorporation of the entity; and (e) the address of each of the entity’s principal places of
business.

        13.    “Identify” when used in reference to a “document” means to describe: (a)
the title, heading or caption of such document, including any identifying or descriptive
code number, file number, title or label of such document; (b) a general description of
each such document and whether it is a letter, memorandum, sound recording,
drawing, etc., and its number of pages; (c) the date of the document; (d) the identity of
the person who signed the document, and if it is not signed, the answer shall so state
and identify the person(s) who prepared it; (e) the names of any recipients of the
document; and (f) the present location of the document and the identity of any person
with possession, custody, or control of the document.

        14.    “Identify” when used in reference to a meeting, written or oral
communication, or other event means to describe: (a) its substance; (b) the date and
time it occurred; (c) the place and location at which it occurred (both sending and
receiving in the case of telephone or other communications that are not face-to-face);
(d) the identity of each sender, recipient, and participant; and (e) all documents that
relate to or evidence the meeting, written or oral communication, or other event.

        15.   “In your possession, custody, or control”, when used in reference to
documents, shall mean and include (a) all documents actually within your possession,
custody, or control; (b) all documents within the possession, custody, or control of your
attorneys, investigators, adjusters, insurance carriers, consultants, consulting experts,
testifying experts, accountants, financial planners, advisors, employees, and other

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agents or representatives retained by or providing services to you; (c) all documents
that you have a legal right to obtain; (d) all documents that you have a right or ability to
copy, review, or access; (e) all documents that you have placed in the temporary
possession, custody, or control of any third party or any other person; and (f) all
documents in the possession, custody, or control of any third party who, upon your
request, would surrender possession, custody, or control to you.

        16.   “Jeane Thorne” as used herein means the Jeane Thorne subsidiary of
AllStaff Recruiting Inc., including any subsidiary, agent, representative, or affiliate
thereof.

       17.     “MRI” as used herein means Plaintiff Management Registry, Inc. along
with any of its subsidiaries or affiliates, including, but not limited to, AllStaff, AllStaff
Recruiting, Inc., Malone Solutions, or Malone.

       18.     “Or” means both “and” and “or”.

       19.    “Plaintiff” means Plaintiff Management Registry, Inc., and any person
acting on Plaintiff’s behalf, including but not limited to, Plaintiff’s attorneys,
investigators, employees, representatives, or any agents or other persons acting on
behalf of the foregoing.

       20.    “Person” and “individual” means natural persons as well as corporations,
non-profit corporations, limited liability companies, limited liability partnerships,
partnerships, associations, joint ventures, cooperatives, governments or agencies
thereof, public corporations, quasi-public entities, trusts, estates, and other entities of
any type.

       21.    “Relate to”, “related to”, “relating to”, or “evidencing” means referring
to, concerning, pertaining to, consisting of, connected with, describing, discussing,
constituting, evidencing, containing, reflecting, mentioning, or bearing any logical or
factual connection with the subject matter of the request.

        22.   “State the basis for”, means to identify and describe in detail (a) each and
every fact known to you, or believed by you to be true, that you claim to support the
allegation made; (b) each and every fact that you intend to allege at trial in support of
the allegation made; (c) each and every document that you claim supports the
allegation made; and (d) each and every person that you believe has knowledge about
any such facts or documents.



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        23.    “Statement” or “statements” means a written expression signed or
otherwise adopted or approved by the person making it, or a stenographic, mechanical,
electronic, or other record, or a transcription thereof, which is a substantially verbatim
recital of an oral expression by the person making it.

       24.    “You”, or “your” means Defendant, as defined above.

                                      INSTRUCTIONS

       1.     In addition to personal knowledge, you are required to furnish all
information available to you including information in the possession, custody, or control
of you, your attorney, and all persons acting on your behalf.

       2.      If you are unable to completely and fully answer these Interrogatories
after exercising due diligence to obtain the requested information, answer as
completely as possible and provide any information you possess.

       3.     As an alternative to providing a written response to an Interrogatory
requesting the identification of a document, you may attach a copy of the document
and identify which Interrogatory the document is responsive to, provided that all of the
information contained in the definition of the term “Document,” as defined herein, is
evident from the face of the document. If such information is not evident, you should
provide the missing information in your answer.

       4.      If any document was, but is no longer, in your possession, custody, or
control, or in existence, state whether it is missing or lost, was destroyed, voluntarily or
involuntarily transferred to others, or otherwise disposed of, and identify the person(s)
to whom the document has been transferred or surrendered (if any).

        5.     If you claim that any requested information or document is privileged,
provide a privilege log. The privilege log must describe in detail: (a) the nature of the
privilege asserted (e.g., attorney-client privilege); (b) the type of document and its date;
(c) enough information about the subject matter of the document such that the nature
of the privilege asserted is apparent; (d) its originator(s), if any, and all other person(s)
whose name(s) appear on the document; and (e) the person(s) ever in possession of the
document.




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       6.     Pursuant to the Federal Rules of Civil Procedure, you are under a
continuing duty to amend a prior response to an interrogatory, request for production,
or request for admission if you learn that the response is in some material respect
incomplete or incorrect and if the additional or corrective information has not otherwise
been made known to the other parties to this action during the discovery process or in
writing. With respect to testimony of an expert, this duty extends to information
contained in interrogatory responses, in any report of the expert, and to information
provided through a deposition of the expert.


                                   INTERROGATORIES

       INTERROGATORY NO. 1:         Please identify all actions taken by you, or those

acting under your direction, supervision, or control, with regard to the commencement

of operations for A.W. Companies, Inc. between September 1, 2017 and December 31,

2017, including, for each such action, the date(s), time(s), location(s), witness(es), if any,

and documentation of all such actions, if any.

       ANSWER:

       INTERROGATORY NO. 2:         Please identify all legal guidance, legal advice, or legal

instruction provided by any attorney representing you with regard to the establishment

of A.W. Companies, Inc. and/or the actions taken by A.W. Companies Inc. with regard to

contact with or solicitation of any MRI and/or ARI customers, employees, former MRI

and/or ARI customers, or former MRI and/or ARI employees, including, but not limited

to, any telephonic discussions, in-person meetings, e-mail communications, letter

communications, or other documentation, from September 1, 2017, through December

31, 2017, and for each occasion, provide the date(s), time(s), location(s), witness(es), if



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any, and documentation of all such actions, if any. Additionally, please produce copies

of all such responsive documents that relate thereto.

       ANSWER:

       INTERROGATORY NO. 3:          Please identify all communications, whether in

person, telephonically, or electronically, that you have had, or that you have directed

others to have, with any current or former MRI customer, MRI employee, or MRI

business affiliate, and provide for each the name of the individual or entity, the date(s),

time(s), location(s), witness(es), if any, a summary of the communication, and

documentation of all such actions, if any.

       ANSWER:

       INTERROGATORY NO. 4:          Please identify all bases for your position that you are

the proper successor in interest to AllStaff Recruiting, Inc., or any portion thereof,

including, but not limited to, all witness(es), document(s), and information upon which

you rely to support such claim(s).

       ANSWER:

Dated: July 17, 2019.                       TREPANIER MACGILLIS BATTINA P.A.

                                                   s/ V. John Ella
                                            By: _____________________________
                                                V. John Ella, MN Atty. Reg. No. 249282
                                                    jella@trepanierlaw.com
                                                Nicholas N. Sperling, Atty. Reg. No. 391540
                                                   nsperling@trepanierlaw.com
                                                 Anna M. Koch, Atty. Reg. No. 400144
                                                   akoch@trepanierlaw.com

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                                 8000 Flour Exchange Building
                                 310 Fourth Avenue South
                                 Minneapolis, MN 55415
                                 Phone: 612.455.0500
                                 Fax: 612.455.0501
                                 www.trepanierlaw.com

                              MORRIS & MORRIS, P.S.C.

                                 James M. Morris, KY Atty. Reg. No. 85709
                                    jmorris@m-mlaw.com
                                 217 North Upper Street
                                 Lexington, KY 40507
                                 Telephone: 859.281.6981
                                 Facsimile: 859.233.7876
                                www.morris-morrislaw.com

                              ATTORNEYS FOR PLAINTIFF
                              MANAGEMENT REGISTRY, INC.




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                      Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

        v.

A.W. Companies, Inc., et al.,

              Defendants.


        PLAINTIFF’S REQUESTS FOR ADMISSIONS TO MILAN BATINICH (SET ONE)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Milan Batinich fully respond to the following

requests for admissions (the “Requests”) separately, in writing, and under oath, and

serve a copy of the executed answers upon the office of counsel for the Plaintiff, V. John

Ella, Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth

Avenue South, Minneapolis, MN 55415, within thirty (30) days after service of these

requests.




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                      Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

        v.

A.W. Companies, Inc., et al.,

              Defendants.


         PLAINTIFF’S REQUESTS FOR ADMISSIONS TO WENDY BROWN (SET ONE)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Wendy Brown fully respond to the following

requests for admissions (the “Requests”) separately, in writing, and under oath, and

serve a copy of the executed answers upon the office of counsel for the Plaintiff, V. John

Ella, Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth

Avenue South, Minneapolis, MN 55415, within thirty (30) days after service of these

requests.




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                      Court File No. 0:17-CV-05009 (JRT/KMM)

              Plaintiff,

        v.

A.W. Companies, Inc., et al.,

              Defendants.


        PLAINTIFF’S REQUESTS FOR ADMISSIONS TO ALLAN K. BROWN (SET ONE)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Plaintiff Management

Registry, Inc. requests that Defendant Allan K. Brown, fully respond to the following

requests for admissions (the “Requests”) separately, in writing, and under oath, and

serve a copy of the executed answers upon the office of counsel for the Plaintiff, V. John

Ella, Esq., Trepanier MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth

Avenue South, Minneapolis, MN 55415, within thirty (30) days after service of these

requests.




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                         Court File No. 0:17-CV-05009 (JRT/KMM)

               Plaintiff,

        v.

A.W. Companies, Inc., et al.,

               Defendants.


              PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS
                            TO MILAN BATINICH (SET ONE)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

Defendant Milan Batinich produce and permit Plaintiff to inspect and copy the

documents requested below which are in Defendant Milan Batinich’s possession,

custody, or control, at the office of counsel for the Plaintiff, V. John Ella, Esq., Trepanier

MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue South,

Minneapolis, MN 55415. In lieu of personally appearing to produce the documents for

inspection, you may provide legible, true, and complete copies of such documents




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                         Court File No. 0:17-CV-05009 (JRT/KMM)

               Plaintiff,

        v.

A.W. Companies, Inc., et al.,

               Defendants.


              PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS
                            TO WENDY BROWN (SET TWO)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

Defendant Wendy Brown produce and permit Plaintiff to inspect and copy the

documents requested below which are in Defendant Wendy Brown’s possession,

custody, or control, at the office of counsel for the Plaintiff, V. John Ella, Esq., Trepanier

MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue South,

Minneapolis, MN 55415. In lieu of personally appearing to produce the documents for

inspection, you may provide legible, true, and complete copies of such documents




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                        Court File No. 0:17-CV-05009 (JRT/KMM)

               Plaintiff,

        v.

A.W. Companies, Inc., et al.,

               Defendants.


              PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS
                             TO ALLAN BROWN (SET TWO)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

Defendant Allan Brown produce and permit Plaintiff to inspect and copy the documents

requested below which are in Defendant Allan Brown’s possession, custody, or control,

at the office of counsel for the Plaintiff, V. John Ella, Esq., Trepanier MacGillis Battina

P.A., 8000 Flour Exchange Building, 310 Fourth Avenue South, Minneapolis, MN 55415.

In lieu of personally appearing to produce the documents for inspection, you may

provide legible, true, and complete copies of such documents within thirty (30) days




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Management Registry, Inc.,                         Court File No. 0:17-CV-05009 (JRT/KMM)

               Plaintiff,

        v.

A.W. Companies, Inc., et al.,

               Defendants.


              PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS
                          TO A.W. COMPANIES, INC. (SET TWO)
______________________________________________________________________________

TO:     Defendants and their attorneys, Alexander Loftus, Esq. and Ryan Moore, Esq.
        Stoltmann Law Offices, P.C., 233. S. Wacker, Suite 8400, Chicago, Illinois 60603
        and Justin Bruntjen, Esq., Decerto Law LLC, 501 Carlson Parkway, #529, Hopkins,
        Minnesota 55305.

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

Defendant A.W. Companies, Inc. produce and permit Plaintiff to inspect and copy the

documents requested below which are in Defendant A.W. Companies, Inc.’s possession,

custody, or control, at the office of counsel for the Plaintiff, V. John Ella, Esq., Trepanier

MacGillis Battina P.A., 8000 Flour Exchange Building, 310 Fourth Avenue South,

Minneapolis, MN 55415. In lieu of personally appearing to produce the documents for

inspection, you may provide legible, true, and complete copies of such documents




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within thirty (30) days after service of these request. Plaintiff reserve the right to

inspect the original documents if it deems further inspection necessary.

                                        DEFINITIONS

       For the purposes of these Requests, unless otherwise clearly indicated, the
following definitions shall apply:

       1.     “And” means both “and” and “or”.

        2.      “ARI” as used herein means AllStaff Recruiting, Inc., including any
subsidiary, agent, representative, or affiliate thereof, including, but not limited to, All-
Calls, AllStaff Recruiting, Jeane Thorne, and all non-industrial Minnesota operations of
the Acquired Businesses, and as identified by Defendants in the Answer and
Counterclaim filed herein (DE # 72).

       3.      “A.W.” as used herein means Defendant A.W. Companies, Inc.

       4.     “Communication” means oral and written communications including
without limitation, face-to-face communications, telephone conversations, text
messages, electronic communications, electronic mail (“e-mail”) communications,
instant messages, computer on-line contact, facsimile, hand delivery, courier, letter,
memorandum or note, and any other form of correspondence or communication
between two or more persons or entities.

       5.      “Defendant” means Defendant A.W. Companies, Inc. and its divisions,
departments, business units, parent, subsidiaries, affiliates, related companies, joint
ventures, and their present and former directors, governors, officers, managers,
shareholders, members, partners, owners, and employees, and any person acting on
their behalf, including but not limited to, their attorneys, investigators, representatives,
or agents.

       6.     “Document” or “documents” means all materials within the scope of Rule
34(a)(1)(A) of the Federal Rules of Civil Procedure, including without limitation, the
following:

       a.     The original and all non-identical copies of all documents, recordings,
              graphic material, or compilation of information or data, however
              maintained, including:

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                   (i)     writings, documents, records, correspondence,
                   memoranda, notes, diaries, calendars, journals, logs, letters,
                   office communications, telefax, minutes, resolutions,
                   corporate records, agreements, contracts, reports, checks,
                   statements, receipts, summaries, abstracts, pamphlets,
                   books, booklets, handbooks, policies, procedures, manuals,
                   personnel files, time records, pay stubs, payroll records,
                   compensation data, and notations of any sort of
                   conversations, telephone calls, meetings or other
                   communications, and all other recorded information of any
                   kind;

                   (ii)   graphic or oral recordings or representations of any
                   kind including, but not limited to, sound recordings, audio
                   tapes, films, motion pictures, photographs, charts, graphs,
                   microfiche, microfilm, CDs, DVDs, or other recordings; and

                   (iii) records kept by magnetic, mechanical, or electronic
                   means, including electronic mail (“e-mail”) messages, instant
                   messages, and any electronic, mechanical, electric, or
                   computerized records or representations of any kind and
                   compilations stored on all computerized systems (including
                   tapes, cassettes, discs, recordings, computer memories, hard
                   drives, back-up systems, storage drives, archived tapes,
                   taped backup devices, zip drives, computer disks, floppy
                   disks, servers, and/or storage devices of any kind); and

                   (iv) for the purpose of any Request for Documents,
                   provide the requested information digitally on a CD or DVD
                   and make the computer(s) or other device(s) of any sort
                   which stored the requested information available for
                   inspection and review.

       b.    All non-identical copies or versions of such documents including
             drafts, copies, or alternate versions upon which appear any
             initialing or notations, modified text, additions, deletions,
             redaction, facsimile headers, or handwriting of any kind not
             appearing on the original.



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        7.     “In your possession, custody, or control”, when used in reference to
documents shall mean: (a) all documents actually within your possession, custody, or
control; (b) all documents within the possession, custody, or control of your attorneys,
investigators, adjusters, insurance carriers, consultants, consulting experts, testifying
experts, accountants, financial planners, advisors, employees, and other agents or
representatives retained by or providing services to you; (c) all documents that you have
a legal right to obtain; (d) all documents that you have a right or ability to copy, review,
or access; (e) all documents that you have placed in the temporary possession, custody,
or control of any third party or any other person; and (f) all documents in the
possession, custody, or control of any third party who, upon your request, would
surrender possession, custody, or control to you.

        8.    “Jeane Thorne” as used herein means the Jeane Thorne subsidiary of
AllStaff Recruiting Inc., including any subsidiary, agent, representative, or affiliate
thereof.

       9.      “MRI” as used herein means Plaintiff Management Registry, Inc. along
with any of its subsidiaries or affiliates, including, but not limited to, AllStaff, AllStaff
Recruiting, Inc., Malone Solutions, or Malone.

       10.     “Or” means both “and” and “or”.

       11.     “Plaintiff” means Plaintiff Management Registry, Inc., and any person
acting on Plaintiff’s behalf, including but not limited to, Plaintiff’s attorneys,
investigators, employees, representatives, or any agents or other persons acting on
behalf of the foregoing.

       12.    “Person” and “individual” means natural persons as well as corporations,
non-profit corporations, limited liability companies, limited liability partnerships,
partnerships, associations, joint ventures, cooperatives, governments or agencies
thereof, public corporations, quasi-public entities, trusts, estates, and other entities of
any type.

       13.    “Relate to”, “related to”, “relating to”, or “evidencing” means referring
to, concerning, pertaining to, consisting of, connected with, bearing upon, involving,
describing, discussing, constituting, evidencing, containing, reflecting, mentioning, or
bearing any logical or factual connection with the subject matter of the request.




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        14.    “Statement” or “statements” means a written expression signed or
otherwise adopted or approved by the person making it, or a stenographic, mechanical,
electronic, or other record, or a transcription thereof, which is a substantially verbatim
recital of an oral expression by the person making it.

       15.    “You”, or “Your” means Defendant, as defined above.

                                      INSTRUCTIONS

        1.      Documents are to be produced in full; redacted documents are
insufficient. If the requested document or information cannot be produced in full,
produce it to the extent possible and specify which document, or portion of that
document, is being withheld and the reason for withholding the information.

       2.     In addition to producing the original of all requested documents, you are
requested to produce all non-identical copies and drafts of such documents. If the
original of any document cannot be located, provide a legible copy of the document
bound or stapled in the same manner as the original.

       3.     Documents attached to each other should not be separated.

        4.     If you claim that any requested information or document is privileged,
provide a privilege log. The privilege log must describe in detail: (a) the nature of the
privilege asserted (e.g., attorney-client privilege); (b) the type of document and its date;
(c) enough information about the subject matter of the document such that the nature
of the privilege asserted is apparent; (d) its originator(s), if any, and all other person(s)
whose name(s) appear on the document; and (e) the person(s) ever in possession of the
document.

       5.     Pursuant to the Federal Rules of Civil Procedure, you are under a
continuing duty to amend a prior response to an interrogatory, request for production,
or request for admission if you learn that the response is in some material respect
incomplete or incorrect and if the additional or corrective information has not otherwise
been made known to the other parties to this action during the discovery process or in
writing. With respect to testimony of an expert, this duty extends to information
contained in interrogatory responses, in any report of the expert, and to information
provided through a deposition of the expert.




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                                   DOCUMENT REQUESTS

       REQUEST NO. 1.         Please produce copies of all pleadings and documents

produced by any party in the matter of Eric Berg and Eric Berg Consulting vs. Wendy

Brown, Allan Brown and A.W. Companies, Inc., filed in Hennepin County Court File

Number 27-CV-18-19715.

       RESPONSE:

       REQUEST NO. 2.         Please produce copies of any and all documents upon which

you rely in your claim of ownership of AllCalls, AllStaff Recruiting, Inc., Jeane Thorne

Behavioral, or any other entity that was conveyed to Management Registry, Inc. as part

of the September 7, 2017 acquisition identified in Plaintiff’s Amended Complaint, (DE

#59) and Defendants’ Answer and Counterclaim (DE #72).

       REQUEST NO. 3.         Please produce copies of all invoices and payments from any

of the following, showing the amount of gross revenue that A.W. Companies, Inc. has

received from each of the following corporate entities:

                  i. CHS, Inc.

                 ii. Crown HealthShare Administrators, Inc.

                 iii. DCI of MN, Inc.

                 iv. Do-Good.Biz

                 v. Doherty Consulting, Inc. (d/b/a Dahl Consulting)

                 vi. Ebates



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               vii. Element Fleet Management

              viii. Gem, LLC

               ix. Genesys

                x. Gerber

               xi. Math Teachers Press, Inc.

               xii. Meijer Great Lake Limited Partnership

              xiii. Metropolitan Area Agency on Aging

              xiv. Minnesota Supreme Court

               xv. Morton Buildings, Inc.

              xvi. St. Paul College

              xvii. St. Olaf College

             xviii. The Sportsman’s Guide

              xix. The Research Edge

               xx. Twin City Tile and Marble

              xxi. Verint

              xxii. Wyckoff Medical Center

             xxiii. Zinpro Corporation

      RESPONSE:

      REQUEST NO. 4.        Please produce copies of all invoices for computers,

computer terminals, monitors or headsets purchased by A.W. Companies, Inc. or any



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Defendant for use by in-home agents, providing the date of purchase, specific

equipment purchased, cost, employee assignment, if any, and current location of all

such computer equipment.

       RESPONSE:

       REQUEST NO. 5.        Please produce copies of any and all documents that

memorialize, embody, refer, or relate to any payment(s) by any of the Defendants to

Management Registry, Inc. for the acquisition of any of the Acquired Companies, as

identified in the Amended Complaint (DE #59) and the Answer and Counterclaim (DE

#72), that were acquired by Management Registry, Inc. on September 7, 2017.

       RESPONSE:

       REQUEST NO. 6.        Please produce copies of any and all personnel records for

any A.W. Companies employee who worked, at any point, for Management Registry,

Inc., AllStaff Recruiting, Inc., AllStaff, Inc., or any of the Acquired Companies.

       RESPONSE:

Dated: July 17, 2019.                      TREPANIER MACGILLIS BATTINA P.A.

                                                         s/ V. John Ella
                                           By: _____________________________
                                               V. John Ella, MN Atty. Reg. No. 249282
                                                   jella@trepanierlaw.com
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                              ATTORNEYS FOR PLAINTIFF
                              MANAGEMENT REGISTRY, INC.




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